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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS



                                                          Criminal Action
                                                          No: 24-10090-WGY

                                 UNITED STATES
                                     Plaintiff

                                         v.

                                   HUNTER et al
                                    Defendants


                              SCHEDULING ORDER

YOUNG, D.J.

   An initial status conference in accordance with LR 116.5 was held on 6/3/2024.

   Any substantive motions are to be filed by 9/30/2024. See LR 116.3(E) and
(H).

   Response to any motion is to be filed on or before 10/15/2024. See LR
116.3(l).

   A Final Pretrial Conference will be held on October 21, 2024 at 2:00 PM.

   A joint memorandum in accordance with LR 116.5(C) is to be filed by
10/21/2024.

   A tentative trial date has been set for November 18, 2024 at 9:00 AM.

   The time between 4/23/2024 and 11/18/2024 is excluded with the
agreement of the defendant in the interest of justice as stated on the record.


                                                          By the Court,


                                                           /s/ Jennifer Gaudet
                                                          Deputy Clerk
June 4, 2024
